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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

WARREN BERES, et al.,                )
                                     )
       Plaintiffs,                   )         Nos. 03-785L, 04-1 456L, 04-
                                     )         I 457 L, O 4- I 458L, O 4- I 459L, 0 4-
v                                    )         L 463L, 0 4- r465L, O 4- L 466L, O 4-
                                     )         I467L, 04-I46gL, 04-L46gL, 04-
UNITED STATES,                       )         I47 IL, O4-L47 2L, 04-147 3L, 04-
                                     )         t47 4L
       Defendant.                    )
                                     )         The Honorable Marian Blank Horn
                                     )
                                     )




                 DECLARATION OF DOUG MCCALLUM



       I, Doug McCallum, declare as follows:

    1. I am a United States citizen, a resident of the State of Washington, over the

age of twenty-one, have personal knowledge of the facts stated herein and am

competent to testi$z to the matters stated in this Declaration. I and my wife Joyce

McCallum are Plaintiffs in Spencer u. United States, No. 04-1463L, but we have

settled our claim for compensation with the United States and are awaiting

resolution of the United States' reimbursement of attorneys' fees and costs

    2. In 1971, we purchased our property at 159 East Lake Sammamish Shore
Lane NE, Sammamish \il'ashington and have resided at that address from that time

until currently. Our home is fi.ve houses north of the property owned by Ray and

Lael Spencer



Declaration of Doug McCallum 1

                                                                                    Ex. 8-1
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   3. I am familiar with the use of the right of way by the Spencer's predecessors
because the property is close to my residence and I drove by the property now

owned by the Spencers practically twice every day. The only access to and from our

neighborhood is the road that crosses the railroad right of way in front of the

Spencers'home.

   4. The Spencers'predecessors used the right of way in front of their home in the
following ways: Starting from East Lake Sammamish Parkway, there is a shelter

for school children to wait for the school bus that was built in the mid-1970s. It was

built by several people in the neighborhood but with the permission of the owners of

the Spencers'home at the time. This shelter is in the railroad right of way and the

Spencers'predecessors allowed school children to use this shelter. The remainder of

the area east of the railroad tracks was regularly maintained by mowing grass,

removing blackberry bushes and pruning the plum trees with the permission of the

Spencers'predecessors in appreciation for allowing the shelter to be located and

used on their property.

   5. East Lake Sammamish Shore Lane and the access to the lane were gravel
roads when we purchased our property. Later, the lane and access were paved with

asphalt

   6. On the west side of the railroad tracks, the Spencers'predecessors
maintained all areas not covered with gravel or asphalt as grass, with regular

mowing since we moved into the neighborhood in I97I. They also used that area for




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                                                                                  Ex. 8-2
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parking cars as was a common use by homeowners of the west side of the railroad

right of way.

   7. The Spencers, like their predecessors, allowed people in the community to use
the access road. To my knowledge, there is no recorded easement for my property

allowing us to use that access. No one except the Spencers and their predecessors

allowed us to use this access

   8. In our neighborhood, which was created by the unrecorded plat of Willis J
Connell, everyone has used the west half of the railroad right of way as if it were

their own. No one has ever complained about our use of the railroad right of way.

No one has ever claimed to be the true ortrner of the railroad right of way other than

the neighboring homeowner. The reputation in the neighborhood is that the right of

way belonged to the adjoining homeowner's property. Not until King County

acquired the right of way in 1998 had anyone suggested that the right of way

belonged to anyone other than the adjoining homeo\ryner

   I declare under penaþ of perjury under the laws of the State of W'ashington that

the foregoing is true and correct and was executed by me this 30th day of January,

2018, at Bellevue, Washington.




                                        Doug McCallum




Declaration of Doug McCallum 3


                                                                               Ex. 8-3
